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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


S.C.                                                  )
                                                      )
       Plaintiff                                      )
                                                      )
v.                                                    )
                                                      )       Docket No. 2:19-cv-00063-LEW
CORRECTIONS OFFICER HARRIMAN, and                     )
KEVIN JOYCE, Sheriff of Cumberland County,            )
And CUMBERLAND COUNTY                                 )
                                                      )
                                                      )
       Defendants                                     )


                           NOTICE OF DISMISSAL WITH PREJUDICE

       NOW COMES the Plaintiff, by and through undersigned counsel, in the above-entitled

matter, and hereby notifies the Court that this matter is in order for dismissal pursuant to Rule

41(a)(1)(A)(i). No opposing party has appeared in this matter nor has an answer or a motion for

summary judgment been served/filed. This dismissal is with prejudice and without fees or costs.




Dated: 04/18/2019                                             /s/ Michael J. Waxman
                                                              Attorney for Plaintiff
                                                              S.C.




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